 

Case 2:21-cr-00038-JDL Document 5 Filed 03/24/21 Pagelof2 PagelID#:9

AO 442 (Rev, [1/11) Arrest Warrant

UNITED STATES DISTRICT COURT 323 Pee

PORTLAND
for the RECEIVED & FILED
District of Maine mA?! MAR 2U P uy | |

United States of America

 

v. )
NICHOLAS MITCHELL ) Case No, 2:21-cr-00038-HBRUTY CLERK

)

)

)

== SS )

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) =NICHOLAS MITCHELL
who is accused of an offense or violation based on the following document filed with the court:

& Indictment (J Superseding Indictment O Information © Superseding Information © Complaint
© Probation Violation Petition ©) Supervised Release Violation Petition OViolation Notice O Order of the Court

This offense is briefly described as follows:

COUNTS 1 AND 2 - TAMPERING WITH A CONSUMER PRODUCT, 18:1365(a)

ATRUE COPY
ATTEST: Christa K. Berry, Clerk

By:_UMeglagua Waleed” Si2H] 21
Deputy Clerk
Date: 03/24/2021 LAM Lala OAA AM ote
issuing officer's signature

 

 

City and state: PORTLAND, MAINE a MEGHAN MAKER, DEPUTY CLERK
Printed name and title
Return
This warrant was received on (date) , and the person was arrested on (date)

at (city and state)

 

Date: a
Arresting officer's signature

Printed name and title

 

 
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AO 442 (Rev. TL/11) Arrest Warrant (Page 2)

This second page contains personal identifiers provided for law-enforcement use only
and therefore should not be filed in court with the executed warrant unless under seal.

(Not for Public Disclosure)

Name of defendant’offender:
Known aliases:
Last known residence:

Prior addresses to which defendant/offender may still have ties:

Last known employment:
Last known telephone numbers:
Place of birth:

Date of birth:

Social Security number:

Height: Weight:
Sex: Race:
Hair: Eyes:

Scars, tattoos, other distinguishing marks:

History of violence, weapons, drug use:

Known family, friends, and other associates frame, refatton, address, phone nunber).

FBI number:

Complete description of auto:

Investigative agency and address:

Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable}:

Date of last contact with pretrial services or probation officer (if applicabie):
